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8                              IN THE UNITED STATES DISTRICT COURT

9                                   NORTHERN DISTRICT OF CALIFORNIA

10
     KYLE FARRIS,                                         Case No.: 5:17-cv-05418-LHK
11
                               Plaintiff,                 NOTICE OF SETTLEMENT WITH
12
                                                          DEFENDANT FORD MOTOR CREDIT
13           v.                                           COMPANY LLC

14   EQUIFAX, INC., et al.,
15
                               Defendants.
16

17   TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
18           PLEASE TAKE NOTICE THAT plaintiff Kyle Farris and defendant Ford Motor
19   Credit Company LLC, by and through their respective counsel of record, have reached a
20   settlement in principle of the above captioned case and are in the process of documenting said
21   settlement. The Parties believe the settlement will be finalized within sixty (60) days and will
22   request dismissal of Ford Motor Credit Company LLC from this action upon finalization.
23

24                                                           Sagaria Law, P.C.
25

26
     Dated: December 11, 2017                       By:      /s/ Elliot Gale
                                                             Elliot Gale
27                                                           Attorneys for Plaintiff
28   //


     08888.1925/11015239.1 NOTICE   OF SETTLEMENT WITH DEFENDANT FORD MOTOR CREDIT -1-
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                                                            Severson & Werson, APC
1

2    Dated: December 11, 2017                       By:     /s/ Alisa A. Givental
                                                            Alisa A. Givental
3                                                           Attorneys for Defendant
                                                            Ford Motor Credit Company LLC
4

5

6            I, Elliot Gale, am the ECF user whose identification and password are being used to file

7    this Notice. I hereby attest that Alisa A. Givental has concurred in this filing.
8

9    /s/ Elliot Gale
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     08888.1925/11015239.1 NOTICE   OF SETTLEMENT WITH DEFENDANT FORD MOTOR CREDIT -2-
